Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 1 of 22 Page ID #:440



 1
 2
 3                                                                         O
 4
 5
 6
 7
 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10
11   HALEY VIDECKIS AND LAYANA          )   Case No. CV 15-00298 DDP (JCx)
     WHITE,                             )
12                                      )
                      Plaintiffs,       )   ORDER DENYING DEFENDANT
13                                      )   PEPPERDINE UNIVERSITY’S MOTION TO
           v.                           )   DISMISS THIRD, FOURTH, AND FIFTH
14                                      )   CAUSES OF ACTION OF THE THIRD
     PERPPERDINE UNIVERSITY, a          )   AMENDED COMPLAINT
15   corporation doing business         )
     in California,                     )
16                                      )   [Dkt. No. 33]
                      Defendant.        )
17                                      )
     ___________________________        )
18
19         Presently before the Court is Defendant Pepperdine University
20   (“Pepperdine”)’s Motion to Dismiss the Third, Fourth and Fifth
21   Causes of Action of the Third Amended Complaint and Prayer for
22   Prejudgment Interest Pursuant to Fed. R. Civ. P. 12(b)(6) (“MTD”).
23   (Dkt. No. 33.)    Having considered the parties’ submissions and
24   heard oral argument, the Court DENIES the motion and adopts the
25   following order.
26   ///
27   ///
28   ///
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 2 of 22 Page ID #:441



 1   I.   BACKGROUND
 2         Plaintiffs in this case are Haley Videckis (“Videckis”) and
 3   Layana White (“White”).      Videckis is a former member of
 4   Pepperdine’s women’s basketball team who transferred to Pepperdine
 5   from Arizona State University in July 2013.         (Third Amended
 6   Complaint (“TAC”), Dkt. No. 31, ¶¶ 1, 47.)         White is also a former
 7   member of Pepperdine’s women’s basketball team who transferred to
 8   Pepperdine from Arizona State University in January 2014.           (TAC ¶¶
 9   2, 47.)    Defendant Pepperdine is a university located in
10   California.    (Id. ¶ 3.)    Pepperdine receives funds from the federal
11   government and from the state of California.         (Id.)   Ryan
12   Weisenberg (“Coach Ryan”) is the head coach of the Pepperdine
13   women’s basketball team.      (Id. ¶ 7.)    Adi Conlogue (“Conlogue”) is
14   an athletic academic coordinator of the Pepperdine women’s
15   basketball team.     (Id. ¶ 13.)
16           Plaintiffs’ suit arises out of allegedly intrusive and
17   discriminatory actions that Pepperdine and its employees committed
18   against Plaintiffs on account of Plaintiffs’ dating relationship.
19   Plaintiffs allege that, in the spring of 2014, Coach Ryan and
20   others on the staff of the women’s basketball team came to the
21   conclusion that Plaintiffs were lesbians and were in a lesbian
22   relationship.     (Id. ¶ 17.)   Plaintiffs further allege that Coach
23   Ryan and the coaching staff were concerned about the possibility of
24   the relationship causing turmoil within the team.          (Id.)
25   Plaintiffs allege that, due to their concerns, Coach Ryan and
26   members of the coaching staff harassed and discriminated against
27   Plaintiffs in an effort to force Plaintiffs to quit the team.
28   (Id.)

                                           2
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 3 of 22 Page ID #:442



 1           Plaintiffs allege that, beginning in February 2014, Conlogue
 2   would hold individual meetings with each of the Plaintiffs in order
 3   to determine Plaintiffs’ sexual orientation and their relationship
 4   status.    (Id. ¶¶ 19-22.)    During these meetings Conlogue
 5   specifically asked Plaintiffs whether there were any gay or
 6   bisexual players on the women’s basketball team.          (Id. ¶ 21.)
 7   Conlogue would ask follow-up questions consisting of, among other
 8   things, how close Plaintiffs were, whether they took vacations
 9   together, where they slept, whether they pushed their beds
10   together, whether they went on dates, and whether they would live
11   together.    (Id. ¶ 22)   The questioning lasted at least through June
12   2014.    (Id. ¶ 25.)
13           At the end of April, White reported to Coach Ryan that
14   Conlogue was constantly trying to obtain information about White’s
15   personal life instead of focusing on White’s academics.           (Id. ¶
16   28.)    Coach Ryan assured White that he would soon have a coach
17   monitor the players’ meetings with Conlogue, as other teammates had
18   also complained about Conlogue not focusing on academics.           (Id.)
19   Plaintiffs allege that Coach Ryan did not take any action to stop
20   Conlogue’s inquiries into their personal lives.          (Id.)    Plaintiffs
21   further allege that Conlogue’s persistent questioning during study
22   hall deprived them of educational opportunities that other
23   students, similarly situated at Pepperdine, received.            (Id.)
24           On April 16, 2014, Coach Ryan held a team leadership meeting
25   where he spoke on the topic of lesbianism.         (Id. ¶ 27.)     In the
26   meeting, Coach Ryan stated that lesbianism was a big concern for
27   him and for women’s basketball, that it was a reason why teams
28   lose, and that it would not be tolerated on the team.            (Id.)

                                           3
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 4 of 22 Page ID #:443



 1        In May 2014, White met with Coach Ryan to discuss filing an
 2   appeal to the NCAA that would allow her to play basketball in her
 3   first year as a transfer student.         (Id. ¶ 33.)   Coach Ryan assured
 4   White that he would be starting the process right away.           (Id.)
 5   Afterwards, however, White received no updates on the progress of
 6   the appeal.    (Id.)   On June 12, 2014 White met with the Pepperdine
 7   athletic director, Dr. Steve Potts (“Dr. Potts”), at Pepperdine,
 8   and learned that Dr. Potts had not been informed of any appeal on
 9   her behalf.    (Id. ¶ 36.)
10        White alleges that Dr. Potts offered to process the appeal for
11   her, but that she still has not received a follow up on the status
12   of her appeal.    (Id.)    White further alleges that another male
13   basketball player who transferred to Pepperdine was approved to
14   play in 2015 immediately after transferring despite the fact that
15   White was admitted to Pepperdine before the male player.           (Id.)
16        On June 4, 2014, Videckis complained to the coaching staff
17   that Karissa Scherer (“Scherer”), an athletic trainer, had been
18   asking Videckis inappropriate questions about dating women.            (Id.)
19   Additionally, Plaintiffs claim that Scherer falsely accused them of
20   breaking the training room rules.         (Id. ¶ 34.)   Videckis alleges
21   that Coach Ryan accused her of lying when she complained about the
22   inappropriate questions.      (Id.)   However, the next day Scherer
23   admitted to Coach Ryan that she did ask Videckis inappropriate
24   questions about her sexual orientation, and Coach Ryan required the
25   athletic trainer to apologize to Videckis.         (Id. ¶ 35.)    Coach Ryan
26   ignored Scherer’s accusations against Videckis for breaking the
27   training room rules.      (Id.)   A Title IX investigation confirmed
28

                                           4
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 5 of 22 Page ID #:444



 1   that Scherer improperly changed the time records so that Videckis
 2   and White appeared to arrive late to their training.           (Id.)
 3        Plaintiffs further allege that, in early July, Conlogue
 4   falsely accused Plaintiffs of academic cheating.          (Id. ¶ 41.)
 5   Plaintiffs allege that there was no evidence to substantiate
 6   Conlogue’s claim, and the charges were later dropped.           (Id.)   Later
 7   in July, Coach Ryan reached out to two of Plaintiffs’ teammates,
 8   recommended that the teammates not live with Plaintiffs, and stated
 9   that Plaintiffs were bad influences.        (Id.)   One of those teammates
10   subsequently came forward to Plaintiffs, informing them that Coach
11   Ryan was trying to turn the other players on the team against them.
12   (Id.)
13        On August 26, 2014, Coach Ryan and another member of the
14   coaching staff asked two of Plaintiffs’ teammates whether
15   Plaintiffs were dating.      (Id. ¶ 42.)    When Plaintiffs found out
16   that the coaches had been asking their teammates about Plaintiffs’
17   relationship status, White confronted Coach Ryan about the
18   questioning.    (Id.)   During this meeting, White was able to confirm
19   that the coaching staff had been asking teammates whether
20   Plaintiffs were dating.      (Id.)
21        At some time during the semester, White raised her GPA to a
22   3.0, which under the team rules allowed her to attend study hall
23   for fewer hours.     (Id. ¶ 39.)     White alleges that Coach Ryan
24   immediately changed the team rule to require a minimum GPA of 3.2
25   instead of 3.0, in an effort to force White to interact with
26   Conlogue in study hall.      (Id.)
27        In early September 2014, Conlogue and the coaching staff
28   accused White of being absent from a required study hall and

                                            5
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 6 of 22 Page ID #:445



 1   punished White.      (Id. ¶ 44.)    After the meeting where Coach Ryan
 2   and Conlogue issued White’s punishment, Conlogue walked up to White
 3   with a book White needed and slammed the book on the desk in front
 4   of White.    (Id.)    That night, White attempted to commit suicide.
 5   (Id.)
 6        In June 2014, Videckis reported to Scherer that she was
 7   experiencing pain in her tailbone that she believed stemmed from
 8   basketball training, but that the injury would not affect her
 9   ability to play basketball.        (Id. ¶ 48.)     Videckis saw two separate
10   doctors, neither of whom restricted her ability to play basketball.
11   (Id.)
12        On September 9, 2014, Videckis informed Coach Ryan that she
13   would miss practice on September 12 because she was getting tested
14   for cervical cancer.      (Id. ¶ 53.)       Videckis alleges that Scherer
15   requested her gynecological records, but that she refused to give
16   Pepperdine access because those records were unrelated to her
17   ability to play basketball.        (Id. ¶ 54.) Plaintiffs allege that no
18   other women or men on the basketball teams were asked to provide
19   similar medical records.      (Id.)
20           On September 16, 2014, Videckis met with Dr. Green at the
21   Pepperdine Health Center, who told her that she was cleared for her
22   condition.    (Id. ¶ 56.)    After leaving her appointment that day,
23   Videckis received an email from Scherer that stated Videckis would
24   not be cleared for participation unless she provided the athletic
25   medicine center with documentation from a spine specialist relating
26   to her tailbone injury.      (Id. ¶ 57.)
27           On September 17, Videckis called the health center to request
28   documentation.    (Id.)     That same day, Videckis brought her “MRI,

                                             6
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 7 of 22 Page ID #:446



 1   diagnosis, and treatment of prescription” to the athletic training
 2   room.    (Id. ¶ 58.)   Afterwards, Videckis received emails from the
 3   athletic trainers informing her that the documentation she provided
 4   was insufficient, and that she needed to provide them with a
 5   diagnosis and treatment plan.       (Id. ¶ 59.)    Videckis spoke with
 6   Coach Ryan, telling him that she had given the trainers all of the
 7   documentation the doctor’s office had on file for her.           (Id. ¶ 61.)
 8   Videckis requested Coach Ryan’s assistance in speaking with the
 9   trainers to clear her for her tailbone injury, but Coach Ryan
10   informed Videckis that he would not help her.         (Id.)    Videckis
11   replied to the emails, informing the trainers that her diagnosis
12   was in the documentation she had provided, but received no
13   response.    (Id.)
14           On September 19, 2014, Videckis met with Dr. Potts, the
15   Pepperdine athletic director, and told him of her concerns
16   regarding unfair treatment by the women’s basketball staff.            (Id.)
17   Videckis told Dr. Potts that she felt that the coaching staff was
18   trying to keep her and White from playing, and furthermore that
19   they were trying to get Plaintiffs kicked out of the school.             (Id.
20   ¶ 64.)    Videckis alleges that Dr. Potts was very rude during the
21   meeting and also that he yelled at her for bringing the issue to
22   his attention.    (Id.)
23           That same day, Videckis called Coach Ryan and told him that
24   she was very unhappy with the way she had been treated.           (Id.)
25   Coach Ryan then told her that she would need to make a decision as
26   to whether she wanted to remain on the team by Sunday.           (Id.)
27   Videckis told him that she would need until Monday.           (Id.)   On
28   Monday, Videckis called Coach Ryan and told him that she needed

                                           7
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 8 of 22 Page ID #:447



 1   more time.    (Id.)   In response, Coach Ryan told her that he needed
 2   her decision by 5pm that day; otherwise, he would tell Dr. Potts
 3   that Videckis had quit voluntarily.        (Id. ¶ 65.)
 4          Videckis sent Dr. Potts an email on September 24, stating that
 5   she had not made a decision to quit, and that she would like to
 6   speak with Dr. Potts later that week when she was back in town.
 7   (Id. ¶ 66.)    Dr. Potts replied, saying that due to Videckis’
 8   concerns, the school had begun an investigation, and that until
 9   then, as requested, Videckis would be relieved from activities
10   having to do with the basketball team.        (Id. ¶ 67.)
11          On November 7, 2014, Videckis received a letter from the Title
12   IX coordinator.    (Id. ¶ 68.)     The letter stated that there was
13   insufficient evidence to conclude that harassment or sexual
14   orientation discrimination had occurred, and further that according
15   to the team doctor, Dr. Green had not received the documentation
16   necessary to assess Videckis’s fitness to play basketball.            (Id.)
17   On December 1, 2014, Videckis sent the university a doctor’s note
18   stating that “[i]t is acceptable for [Videckis] to return to
19   basketball without restriction.”       (Id. ¶ 69.)    Neither Videckis nor
20   White were ever cleared to play basketball.         (Id.)
21          Plaintiffs previously filed a First Amended Complaint (“FAC”)
22   that included a discrimination claim under Title IX.           (Dkt. No.
23   11.)   Pepperdine moved to dismiss the FAC and argued that Title IX
24   did not cover claims based on sexual orientation discrimination.
25   (Dkt. No. 13.)    Plaintiffs, in their opposition to the motion,
26   asked for leave to amend their Title IX cause of action.           (Dkt. No.
27   20.)   The Court granted Pepperdine’s motion, although it noted that
28   it was inclined to find that Title IX did cover the types of

                                           8
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 9 of 22 Page ID #:448



 1   actions alleged in the FAC.      (Dkt. No. 25.)     Plaintiffs have now
 2   filed a TAC.
 3         Plaintiffs’ TAC alleges seven causes of action: (1) violation
 4   of the right of privacy under the California Constitution; (2)
 5   violation of California Educational Code §§ 220, 66251, and 66270;
 6   (3) violation of Title IX - deliberate indifference; (4) violation
 7   of Title IX - intentional discrimination; (5) violation of Title IX
 8   - retaliation for complaints against discrimination; (6) violation
 9   of the Unruh Act, California Civil Code §§ 51 et seq.; and (7)
10   intentional infliction of emotional distress.         (See generally TAC.)
11   Pepperdine now moves to dismiss Plaintiffs’ third, fourth, and
12   fifth causes of action for failure to state a claim and moves to
13   dismiss the claim for prejudgment interest.         (See generally MTD.)
14   II.   LEGAL STANDARD
15         A 12(b)(6) motion to dismiss requires the court to determine
16   the sufficiency of the plaintiff's complaint and whether or not it
17   contains a “short and plain statement of the claim showing that the
18   pleader is entitled to relief.”       Fed. R. Civ. P. 8(a)(2).      Under
19   Rule 12(b)(6), a court must (1) construe the complaint in the light
20   most favorable to the plaintiff, and (2) accept all well-pleaded
21   factual allegations as true, as well as all reasonable inferences
22   to be drawn from them.      See Sprewell v. Golden State Warriors, 266
23   F.3d 979, 988 (9th Cir. 2001), amended on denial of reh’g, 275 F.3d
24   1187 (9th Cir. 2001); Pareto v. F.D.I.C., 139 F.3d 696, 699 (9th
25   Cir. 1998).
26         In order to survive a 12(b)(6) motion to dismiss, the
27   complaint must “contain sufficient factual matter, accepted as
28   true, to ‘state a claim to relief that is plausible on its face.’”

                                           9
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 10 of 22 Page ID #:449



  1   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.
  2   Corp. v. Twombly, 550 U.S. 544, 570 (2007)).         However,
  3   “[t]hreadbare recitals of the elements of a cause of action,
  4   supported by mere conclusory statements, do not suffice.”           Iqbal,
  5   556 U.S. at 678.    Dismissal is proper if the complaint “lacks a
  6   cognizable legal theory or sufficient facts to support a cognizable
  7   legal theory.”    Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d
  8   1097, 1104 (9th Cir. 2008); see also Twombly, 550 U.S. at 561-63
  9   (dismissal for failure to state a claim does not require the
 10   appearance, beyond a doubt, that the plaintiff can prove “no set of
 11   facts” in support of its claim that would entitle it to relief).             A
 12   complaint does not “suffice if it tenders ‘naked assertion[s]’
 13   devoid of ‘further factual enhancement.’”        Iqbal, 556 U.S. at 678
 14   (quoting Twombly, 550 U.S. at 557).       “A claim has facial
 15   plausibility when the plaintiff pleads factual content that allows
 16   the court to draw the reasonable inference that the defendant is
 17   liable for the misconduct alleged.”       Id.   The Court need not accept
 18   as true “legal conclusions merely because they are cast in the form
 19   of factual allegations.”     Warren v. Fox Family Worldwide, Inc., 328
 20   F.3d 1136, 1139 (9th Cir. 2003).
 21   III.   DISCUSSION
 22          Pepperdine advances three main arguments in support of its
 23   motion to dismiss Plaintiffs’ three Title IX causes of action:
 24   first, that Title IX does not apply to claims based on sexual
 25   orientation discrimination; second, that Plaintiffs’ allegations do
 26   not support a Title IX claim based on gender stereotype
 27   discrimination; and third, that the Title IX claims should be
 28   dismissed because they are uncertain and not legally cognizable.

                                           10
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 11 of 22 Page ID #:450



  1   (MTD at 5-22, 24-25.)     Pepperdine also contends that the fifth
  2   cause of action, for retaliation under Title IX, fails because
  3   Plaintiffs have not alleged any actionable retaliation.           (Id. at
  4   22-24.)   Finally, Pepperdine moves to dismiss the “claim for
  5   prejudgment interest.”     (Id. at 25.)
  6        A.   Plaintiffs’ Third, Fourth, and Fifth Claims Under Title IX
  7        Title IX provides, in relevant part, that “[n]o person in the
  8   United States shall, on the basis of sex . . . be subjected to
  9   discrimination under any education program or activity receiving
 10   Federal financial assistance.”      20 U.S.C. § 1681(a).      Congress
 11   enacted Title IX with the twin objectives of avoiding the use of
 12   federal resources to support discriminatory practices and providing
 13   individual citizens effective protection against those practices.
 14   Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 286 (1998).
 15        In interpreting Title IX, courts often look to interpretations
 16   of Title VII for reference.      See, e.g., Franklin v. Gwinnett Cnty.
 17   Pub. Sch., 503 U.S. 60, 75 (1992).        The Ninth Circuit has held that
 18   the legislative history of Title IX “strongly suggests that
 19   Congress meant for similar substantive standards to apply under
 20   Title IX as had been developed under Title VII.”         Emeldi v. Univ.
 21   of Oregon, 698 F.3d 715, 724 (9th Cir. 2012).
 22        Title IX’s prohibition of discrimination “on the basis of sex”
 23   encompasses both sex - in the biological sense - as well as gender.
 24   Schwenk v. Hartford, 204 F.3d 1187, 1202 (9th Cir. 2000).
 25   Furthermore, discrimination based on gender stereotypes constitutes
 26   discrimination on the basis of sex under Title VII.          Price
 27   Waterhouse v. Hopkins, 490 U.S. 228, 250-51 (1989); Nichols v.
 28   Azteca Rest. Enters., Inc., 256 F.3d 864, 874-75 (9th Cir.

                                           11
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 12 of 22 Page ID #:451



  1   2001)(holding that discrimination against either a man or a woman
  2   on the basis of gender stereotypes is prohibited).          In Nichols, the
  3   Ninth Circuit held that a male restaurant employee who was
  4   discriminated against at work for, among other things, walking
  5   “like a woman” and not having sexual intercourse with a female
  6   waitress friend had established an actionable claim for sexual
  7   harassment under Title VII.      Nichols, 256 F.3d at 874-75.
  8        Plaintiffs in this case argue that they have stated an
  9   actionable Title IX claim because Title IX covers sexual
 10   orientation discrimination, and even if Title IX does not
 11   explicitly cover sexual orientation discrimination, the actions
 12   alleged in the TAC constitute gender stereotype discrimination.
 13   (Opp’n to MTD, Dkt. No. 34, at 6-13.)        Further, they argue that the
 14   TAC alleges a straightforward claim of discrimination on the basis
 15   of sex.   (Id.)
 16              1.   Sexual Orientation Discrimination
 17        This Court, in its prior order dismissing in part Plaintiffs’
 18   FAC, stated that “the line between discrimination based on gender
 19   stereotyping and discrimination based on sexual orientation is
 20   blurry, at best.” (Dkt. No. 25.)       After further briefing and
 21   argument, the Court concludes that the distinction is illusory and
 22   artificial, and that     sexual orientation discrimination is not a
 23   category distinct from sex or gender discrimination.          Thus, claims
 24   of discrimination based on sexual orientation are covered by Title
 25   VII and IX, but not as a category of independent claims separate
 26   from sex and gender stereotype.       Rather, claims of sexual
 27   orientation discrimination are gender stereotype or sex
 28   discrimination claims.

                                           12
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 13 of 22 Page ID #:452



  1        Other courts have acknowledged the difficulty of
  2   distinguishing sexual orientation discrimination from
  3   discrimination based on sex or gender stereotypes.          See, e.g.,
  4   Prowel v. Wise Bus. Forms, Inc., 579 F.3d 285, 291 (3d Cir. 2009)
  5   (stating that “the line between sexual orientation discrimination
  6   and discrimination ‘because of sex’ can be difficult to draw”);
  7   Dawson v. Bumble & Bumble, 398 F.3d 211, 217 (2d Cir. 2005)
  8   (acknowledging that it would be difficult to determine if an
  9   actionable Title VII claim was stated when a plaintiff stated she
 10   was discriminated against based on her sex, her failure to conform
 11   to gender norms, and her sexual orientation, because “the borders
 12   [between these classes] are so imprecise” (alteration in
 13   original)); Centola v. Potter, 183 F. Supp. 2d 403, 408 (D. Mass.
 14   2002)(acknowledging that “the line between discrimination because
 15   of sexual orientation and discrimination because of sex is hardly
 16   clear”).   Simply put, the line between sex discrimination and
 17   sexual orientation discrimination is “difficult to draw” because
 18   that line does not exist, save as a lingering and faulty judicial
 19   construct.
 20        Pepperdine cites to opinions from various federal courts that
 21   state categorically that sexual orientation discrimination is not
 22   covered under Title IX.     (See MTD at 6-14.)      However, the Ninth
 23   Circuit has held only that “an employee’s sexual orientation is
 24   irrelevant for purposes of Title VII,” and that “[i]t neither
 25   provides nor precludes a cause of action for sexual harassment.”
 26   Rene v. MGM Grand Hotel, Inc., 305 F.3d 1061, 1063 (9th Cir. 2002)
 27
 28

                                           13
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 14 of 22 Page ID #:453



  1   (en banc) (plurality opinion).1      Furthermore, the cases upon which
  2   Pepperdine relies, for the most part, dismiss analogous sexual
  3   orientation-based claims in a cursory and conclusory fashion.            See,
  4   e.g., Johnson v. Eckstrom, No. C-11-2052 EMC, 2011 WL 5975039, at
  5   *5 (N.D. Cal. Nov. 29, 2011) (stating, simply, that “neither Title
  6   VII nor any other federal law protects against discrimination on
  7   the basis of sexual orientation”).        The Court rejects the reasoning
  8   of these cases, which do not fully evaluate the nature of claims
  9   based on sexual orientation discrimination.
 10        In sexual orientation discrimination cases, focusing on the
 11   actions or appearance of the alleged victim of discrimination
 12   rather than the bias of the alleged perpetrator asks the wrong
 13   question and compounds the harm.       A plaintiff’s “actual” sexual
 14   orientation is irrelevant to a Title IX or Title VII claim because
 15   it is the biased mind of the alleged discriminator that is the
 16   focus of the analysis.     This is especially true given that
 17   sexuality cannot be defined on a homosexual or heterosexual basis;
 18   it exists on a continuum.      See Kenji Yoshino, The Epistemic
 19   Contract of Bisexual Erasure, 52 Stan. L. Rev. 353, 380-81 (2000)
 20   (discussing the “Kinsey scale,” which conceived of sexual
 21   orientation as a continuum with six ratings).         It is not the victim
 22   of discrimination who should be forced to put his or her sexual
 23   orientation on trial.     We do not demand of a victim of alleged
 24
           1
 25          The concurring judges only joined in the result of the
      plurality opinion, as the concurrences would have found “actionable
 26   gender stereotyping harassment.” See Rene, 305 F.3d at 1068
      (Pregerson, Trott, and Berzon, JJ., concurring); id. at 1069-70
 27   (Graber, J., concurring) (finding facts indistinguishable from
      Oncale v. Sundowner Offshore Servs., Inc., 532 U.S. 75 (1998),
 28   where the Court held same sex harassment was covered by Title VII);
      id. at 1070 (Fisher, J., concurring).

                                           14
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 15 of 22 Page ID #:454



  1   religious discrimination, “Prove that you are a real Catholic,
  2   Mormon, or Jew.”    Just as it would be absurd to demand that a
  3   victim of alleged racial discrimination prove he is black, it is
  4   absurd to demand a victim of alleged sex discrimination based on
  5   sexual orientation prove she is a lesbian.        The contrary view would
  6   turn a Title IX trial into a broad inquisition into the personal
  7   sexual history of the victim.      Such an approach should be precluded
  8   as not only highly inflammatory and offensive, but also irrelevant
  9   for the purposes of the Title IX discrimination analysis.
 10        Therefore, the Court finds that sexual orientation
 11   discrimination is a form of sex or gender discrimination, and that
 12   the “actual” orientation of the victim is irrelevant.          It is
 13   impossible to categorically separate “sexual orientation
 14   discrimination” from discrimination on the basis of sex or from
 15   gender stereotypes; to do so would result in a false choice.
 16   Simply put, to allege discrimination on the basis of sexuality is
 17   to state a Title IX claim on the basis of sex or gender.
 18              2.   Gender Stereotype Discrimination
 19        It is undisputed that Title IX forbids discrimination on the
 20   basis of gender stereotypes.      Gender stereotyping is a concept that
 21   sweeps broadly.    See Price Waterhouse, 490 U.S. at 251 (“[W]e are
 22   beyond the day when an employer could evaluate employees by
 23   assuming or insisting that they matched the stereotype associated
 24   with their group, for ‘[i]n forbidding employers to discriminate
 25   against individuals because of their sex, Congress intended to
 26   strike at the entire spectrum of disparate treatment of men and
 27   women resulting from sex stereotypes.’”) (quoting Los Angeles Dep’t
 28   of Water & Power v. Manhart, 435 U.S. 702, 707 n.13 (1978)).           As

                                           15
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 16 of 22 Page ID #:455



  1   discussed above, discrimination based on gender stereotyping
  2   encompasses sexual orientation discrimination.
  3        Plaintiffs allege here that they were discriminated against
  4   because of the Pepperdine women’s basketball staff’s belief that
  5   Plaintiffs were lesbian.     Plaintiffs also allege that the staff’s
  6   stereotypes about lesbians and lesbianism formed the basis of the
  7   staff’s harassment.     (TAC ¶ 19.)
  8        The type of sexual orientation discrimination Plaintiffs
  9   allege falls under the broader umbrella of gender stereotype
 10   discrimination.    Stereotypes about lesbianism, and sexuality in
 11   general, stem from a person’s views about the proper roles of men
 12   and women – and the relationships between them.         Discrimination
 13   based on a perceived failure to conform to a stereotype constitutes
 14   actionable discrimination under Title IX.        See Centola, 183 F.
 15   Supp. 2d at 410 (“Conceivably, a plaintiff who is perceived by his
 16   harassers as stereotypically masculine in every way except for his
 17   actual or perceived sexual orientation could maintain a Title VII
 18   cause of action alleging sexual harassment because of his sex due
 19   to his failure to conform with sexual stereotypes about what ‘real’
 20   men do or don’t do.”).
 21        Here, Plaintiffs allege that they were repeatedly harassed and
 22   treated differently from other similarly situated individuals
 23   because of their perceived sexual orientation.         Coaches, trainers,
 24   and support staff repeatedly queried Plaintiffs about their sexual
 25   orientation, their private sexual behavior, and their dating lives.
 26   Plaintiffs allege that they were told lesbianism would not be
 27   tolerated on the women’s basketball team.        Plaintiffs further
 28   allege that they were not cleared to play basketball because of

                                            16
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 17 of 22 Page ID #:456



  1   Pepperdine’s discriminatory views against lesbianism.          If the
  2   women’s basketball staff in this case had a negative view of
  3   lesbians based on lesbians’ perceived failure to conform to the
  4   staff’s views of acceptable female behavior, actions taken on the
  5   basis of these negative biases would constitute gender stereotype
  6   discrimination.    Consequently, Plaintiffs have stated a claim for
  7   discrimination because they allege that Pepperdine treated them
  8   differently due to their perceived lack of conformity with gender
  9   stereotypes, and further that Pepperdine discriminated against them
 10   based on stereotypes about lesbianism.
 11              3.   Sex Discrimination
 12        In addition to stating a claim based on gender stereotyping
 13   discrimination, Plaintiffs have stated a claim that they were
 14   discriminated against because of their sex.         Discrimination on the
 15   basis of sex can be defined as treating someone differently simply
 16   because that person’s sex is different from a similarly situated
 17   person of the opposite sex.      See Manhart, 435 U.S. at 711 (applying
 18   the “simple test of whether the evidence shows treatment of a
 19   person in a manner which but for that person’s sex would be
 20   different” (internal quotation marks omitted)); Oncale, 523 U.S. at
 21   80 (describing the “critical issue” under Title VII as whether the
 22   discrimination would have occurred if the sex of the victim had
 23   been different).
 24        Here, Plaintiffs allege that they were told that “lesbianism”
 25   would not be tolerated on the team.       If Plaintiffs had been males
 26   dating females, instead of females dating females, they would not
 27   have been subjected to the alleged different treatment.           Plaintiffs
 28   have stated a straightforward claim of sex discrimination under

                                           17
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 18 of 22 Page ID #:457



  1   Title IX.    Cf. Latta v. Otter, 771 F.3d 456, 480 (9th Cir.
  2   2014)(Berzon, J., concurring)(finding same-sex marriage bans were
  3   facially discriminatory on the basis of sex because the bans
  4   dictated who could marry who based on the sex of the marriage
  5   participants).
  6        This Court’s conclusion is in line with a recent Equal
  7   Employment Opportunity Commission (“EEOC”) decision holding that
  8   sexual orientation discrimination is covered under Title VII, and
  9   therefore that the EEOC will treat sexual orientation
 10   discrimination claims the same as other sex discrimination claims
 11   under Title VII.    Baldwin v. Anthony Foxx, Sec’y, Dep’t of Transp.,
 12   EEOC Appeal No. 0120133080, 2015 WL 4397641, at *10, (EEOC July 16,
 13   2015) (holding that “allegations of discrimination on the basis of
 14   sexual orientation necessarily state a claim of discrimination on
 15   the basis of sex”).     The EEOC concluded that “[a]n employee could
 16   show that the sexual orientation discrimination he or she
 17   experienced was sex discrimination because it involved treatment
 18   that would not have occurred but for the individual’s sex; because
 19   it was based on the sex of the person(s) the individual associates
 20   with; and/or because it was premised on the fundamental sex
 21   stereotype, norm, or expectation that individuals should be
 22   attracted only to those of the opposite sex.”         Id.   For these
 23   reasons, as well as for the reasons stated in this Order, this
 24   Court agrees.
 25        B.     Plaintiffs’ Title IX Retaliation Claim
 26        Pepperdine further argues that Plaintiffs’ fifth cause of
 27   action, for retaliation under Title IX, must be dismissed because
 28

                                           18
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 19 of 22 Page ID #:458



  1   Plaintiffs have not alleged facts establishing a prima facie case
  2   of retaliation.
  3        Under Title IX, “a plaintiff who lacks direct evidence of
  4   retaliation must first make out a prima facie case of retaliation
  5   by showing (a) that he or she was engaged in protected activity,
  6   (b) that he or she suffered an adverse action, and (c) that there
  7   was a causal link between the two.”       Emeldi, 698 F.3d at 724.       In
  8   order to make out a prima facie case, a plaintiff “need only make a
  9   minimal threshold showing of retaliation.”        Id.
 10        Here, Plaintiffs have clearly pled a plausible claim for
 11   retaliation.   Plaintiffs were engaged in protected activity.          They
 12   complained to the coaching staff and Pepperdine’s Title IX
 13   coordinator about the harassment they suffered.         See Jackson v.
 14   Birmingham Bd. of Educ., 544 U.S. 167, 173 (2005) (“Retaliation
 15   against a person because that person has complained of sex
 16   discrimination is another form of intentional sex discrimination
 17   encompassed by Title IX's private cause of action.”).          Furthermore,
 18   Plaintiffs allege various retaliatory actions they experienced as a
 19   result of their complaints.      (See, e.g., TAC ¶¶ 34-36, 63-69.)
 20   They allege that, ultimately, they were forced off the basketball
 21   team and lost their scholarships.
 22        Pepperdine argues that because Plaintiffs tried to hide their
 23   relationship status, they therefore never could have made a
 24   complaint about discrimination.       This argument is without merit.
 25   Plaintiffs clearly allege that they complained to the coaching
 26   staff and school officials about the intrusive questioning and
 27   harassment to which they were subjected.        The fact that Plaintiffs
 28   may never have explicitly told school officials that they were

                                           19
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 20 of 22 Page ID #:459



  1   dating is irrelevant to whether they complained that they were
  2   being harassed.    Again, requiring that Plaintiffs disclose their
  3   sexual orientation or relationship status improperly focuses the
  4   inquiry on the status of the victim rather than the bias of the
  5   alleged harasser, and imposes a burden that Title IX does not
  6   contemplate.
  7         C. Uncertainty of Plaintiffs’ Third, Fourth, and Fifth Causes
            of Action
  8
  9         Pepperdine asserts that because Plaintiffs have chosen to
 10   plead their Title IX theories under three separate causes of
 11   action, this format renders Plaintiffs’ Title IX claims “uncertain
 12   and not legally cognizable.”      (See MTD at 24-25.)      Pepperdine’s
 13   argument is unavailing in light of the liberal pleading standards
 14   of Federal Rule of Civil Procedure 8.        Although Plaintiffs could
 15   have pled their Title IX claims as a single cause of action, the
 16   fact that they included them as three separate causes of action
 17   does not require dismissal.      Under Rule 8, all that is required is
 18   that the complaint must contain “a short and plain statement of the
 19   claim showing that the pleader is entitled to relief.”          Fed. R.
 20   Civ. P. 8(a)(2).    In fact, Rule 8 expressly states that “[n]o
 21   technical form is required” for pleadings, and further that “[a]
 22   party may set out 2 or more statements of a claim or defense
 23   alternatively or hypothetically, either in a single count or
 24   defense or in separate ones.”      Fed. R. Civ. P. 8(d).      Accordingly,
 25   Plaintiffs’ third, fourth, and fifth claims are not “legally
 26   uncognizable” or “uncertain,” and cannot be dismissed for such a
 27   reason.
 28   ///

                                           20
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 21 of 22 Page ID #:460



  1        D.     Prayer for Prejudgment Interest
  2        Pepperdine also moves to dismiss Plaintiffs’ prayer for
  3   prejudgment interest.     Strictly speaking, Plaintiffs’ request for
  4   prejudgment interest is contained in their “Relief Requested”
  5   rather than pled as a separate claim, and thus a motion to dismiss
  6   under Rule 12(b)(6) is the improper vehicle to use in arguing
  7   against prejudgment interest.      Instead, Pepperdine should have
  8   moved to strike the prayer for prejudgment interest.          See Fed. R.
  9   Civ. P. 12(f).    The Court will treat Pepperdine’s motion as a
 10   motion to strike with respect to the prayer for prejudgment
 11   interest.
 12        Plaintiffs argue that, at this stage of the proceedings,
 13   because the nature of their claims remain “in flux,” the Court
 14   should defer ruling on the issue of prejudgment interest until a
 15   later point in the case.     Plaintiffs have not responded to
 16   Pepperdine’s substantive arguments.
 17        California Civil Code Sections 3287 and 3288 govern awards of
 18   prejudgment interest.     Pepperdine contends that Plaintiffs are not
 19   entitled to prejudgment interest on their state law claims because
 20   the damages involved are for “the intangible, noneconomic aspects
 21   of mental and emotional injury.”       Greater Westchester Homeowners
 22   Assn. v. City of Los Angeles, 26 Cal. 3d 86, 103 (1979).           However,
 23   the damages involved in the present case may go beyond mental and
 24   emotional injury.    Plaintiffs allege that, due to Pepperdine’s
 25   actions, Plaintiffs were forced off the women’s basketball team,
 26   had their scholarships revoked, and withdrew from the school.            (TAC
 27   ¶¶ 76-79, 136.)    Damages from these types of injuries may be
 28   tangible and economic, and thus eligible for prejudgment interest

                                           21
Case 2:15-cv-00298-DDP-JC Document 40 Filed 12/14/15 Page 22 of 22 Page ID #:461



  1   under Section 3288.     Accordingly, the request for prejudgment
  2   interest will not be stricken.
  3   IV.   CONCLUSION
  4         For the foregoing reasons, the Court DENIES Pepperdine’s
  5   motion to dismiss Plaintiffs’ third, fourth, and fifth causes of
  6   action and prayer for prejudgment interest.
  7
  8
  9   IT IS SO ORDERED.
 10
 11
 12   Dated: December 14, 2015
                                                   DEAN D. PREGERSON
 13                                                United States District Judge
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                           22
